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                        THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

 SYMBOLOGY INNOVATIONS, LLC,

                      Plaintiff,
               v.                                  Civil Action No. 1:18-cv-20333-CMA

 TECH DATA CORP.,                                       JURY TRIAL DEMANDED

                      Defendant.


                               JOINT NOTICE OF DISMISSAL

        IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for Plaintiff

 Symbology Innovations, LLC (“Symbology”) and Defendant Tech Data Corp. (“Tech Data”),

 pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, to dismiss all of

 Symbology’s claims WITH PREJUDICE and all of Tech Data’s counterclaims WITHOUT

 PREJUDICE, with each party to bear its own costs and attorneys’ fees.
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 Dated: April 5, 2018                                 Respectfully submitted,


                                                      /s/ Alex J. Whitman
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                                                      Admitted Pro Hac Vice
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                                                      -and-



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                                                      ATTORNEYS FOR DEFENDANT
                                                      TECH DATA CORP.

                                  CERTIFICATE OF SERVICE

           I hereby certify that all counsel of record who have consented to electronic service are
   being notified of the filing of this document via the Court’s CM/ECF system per Local Rule CV-
   5(a)(3) on this 5th day of April, 2018.

                                                      /s/ Alex J. Whitman
                                                      Alex J. Whitman
